  Case 1:22-cv-00424-RP Document 176 Filed 05/16/23 Page 1 of 3



                                                                          FILED
        United States Court of Appeals                                  May 16, 2023
                                                                   CLERK, U.S. DISTRICT COURT

             for the Fifth Circuit
                                                                   WESTERN DISTRICT OF TEXAS

                                                                                 klw
                                                                BY: ________________________________
                             ___________                                                DEPUTY


                       No. 23-50224
                 USDC No. 1:22-CV-424 RP
                      ___________
Leila Green Little; Jeanne Puryear; Kathy Kennedy;
Rebecca Jones; Richard Day; Cynthia Waring; Diane
Moster,
                                    Plaintiffs—Appellees,
                          versus

Llano County; Ron Cunningham, in his official capacity as Llano
County Judge; Jerry Don Moss, in his official capacity as Llano County
Commissioner; Peter Jones, in his official capacity as Llano County
Commissioner; Mike Sandoval, in his official capacity as Llano County
Commissioner; Linda Raschke, in her official capacity as Llano County
Commissioner; Amber Milum, in her official capacity as Llano County
Library System Director; Bonnie Wallace, in her official capacity as
Llano County Library Board Member; Rochelle Wells, in her official
capacity as Llano County Library Board Member; Rhoda Schneider, in
her official capacity as Llano County Library Board Member; Gay Baskin,
in her official capacity as Llano County Library Board Member,

                                            Defendants—Appellants
ORDER:
In order to have sufficient time to consider Appellants’ emergency motion
for stay, the court hereby enters a temporary administrative stay of all
district court proceedings, including any pending discovery.
Case 1:22-cv-00424-RP Document 176 Filed 05/16/23 Page 2 of 3
                         No. 20-10705




                      LYLE W. CAYCE, CLERK
                      United States Court of Appeals
                           for the Fifth Circuit
                           /s/ Lyle W. Cayce

         ENTERED AT THE DIRECTION OF THE COURT




                              2
        Case 1:22-cv-00424-RP Document 176 Filed 05/16/23 Page 3 of 3




                   United States Court of Appeals
                                 FIFTH CIRCUIT
                              OFFICE OF THE CLERK
LYLE W. CAYCE                                                 TEL. 504-310-7700
CLERK                                                      600 S. MAESTRI PLACE,
                                                                   Suite 115
                                                          NEW ORLEANS, LA 70130

                               May 16, 2023
MEMORANDUM TO COUNSEL OR PARTIES LISTED BELOW:
      No. 23-50224     Little v. Llano County
                       USDC No. 1:22-CV-424

Enclosed is an order entered in this case.


                                  Sincerely,
                                  LYLE W. CAYCE, Clerk



                                  By: _________________________
                                  Melissa V. Mattingly, Deputy Clerk
                                  504-310-7719
Ms.   Marissa Benavides
Mr.   Max Bernstein
Mr.   Matthew Borden
Mr.   Ryan A. Botkin
Ms.   Maria Amelia Calaf
Ms.   Katherine Patrice Chiarello
Mr.   Philip Devlin
Ms.   Ellen Valentik Leonida
Mr.   Jonathan F. Mitchell
